Case: 1:21-cv-00998 Document #: 103 Filed: 06/17/22 Page 1 of 1 PageID #:1091

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Michael Cozzi, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:21−cv−00998
                                                         Honorable Steven C. Seeger
Village of Melrose Park, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 17, 2022:


        MINUTE entry before the Honorable Sheila M. Finnegan: Magistrate Judge status
hearing held on 6/17/2022 regarding proposed search protocol that Plaintiffs are to use to
find and produce discovery discussed during the 5/25/2022 hearing. The protocol to be
used and that is now entered by operation of this order is the Alternate Proposed
Discovery Protocol [101−2]. Plaintiffs now have 30 days (until 7/18/2022) to respond to
the discovery requests and produce responsive materials. Telephone status hearing is set
for 7/21/2022 at 10 a.m. for the parties to confirm that discovery has been completed. The
toll−free number for the next hearing is 877−336−1831, access code 5995354. Persons
granted remote access to proceedings are reminded of the prohibition against recording
and rebroadcasting of court proceedings. Mailed notice (sxw)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
